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                             UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT

                                ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                              56 Forsyth Street, N.W.
                                              Atlanta, Georgia 30303


John Ley                                                                                  For rules and forms visit
Clerk of Court                                                                            www.ca11.uscourts.gov


                                          February 22, 2012


  James N. Hatten
  Richard B. Russell Bldg & US Courthouse
  75 SPRING ST SW
  STE 2211
  ATLANTA, GA 30303-3309

  Appeal Number: 11-16025-DD
  Case Style: Evangelina Forsberg v. Ron Eckland
  District Court Docket No: 1:07-cv-03116-JOF


  The enclosed copy of the Clerk's Entry of Dismissal for failure to prosecute in the above
  referenced appeal is issued as the mandate of this court. See 11th Cir. R. 41-4. Pursuant to
  11th Cir. R. 42-2(c) and 42-3(c), when an appellant fails to timely file or correct a brief or
  record excerpts, the appeal shall be treated as dismissed on the first business day following the
  due date. This appeal was treated as dismissed on 02/02/2012.

  Counsel and pro se parties are advised that pursuant to Fed.R.App.P. 25(a)(2)(A), a motion to
  set aside the dismissal and remedy the default "is not timely unless the clerk receives the
  papers within the time fixed for filing."

  Sincerely,

  JOHN LEY, Clerk of Court

  Reply to: Tonya L. Richardson, DD
  Phone #: (404) 335-6176

  Enclosure(s)
                                                              DIS-2CIV Letter and Entry of Dismissal
          Case 1:07-cv-03116-CC Document 422 Filed 02/21/12 Page 2 of 2

                    Case: 11-16025             Date Filed: 02/22/2012       Page: 2 of 2


                           IN THE UNITED STATES COURT OF APPEALS
                                  FOR THE ELEVENTH CIRCUIT

                                                 ______________

                                                No. 11-16025-DD
                                                ______________


EVANGELINA FORSBERG,

llllllllllllllllllllllllllllllllllllllllPlaintiff - Appellee,

versus

JAMES PEFANIS, et al.,

llllllllllllllllllllllllllllllllllllllllDefendants,

RON DEAN ECKLAND,

llllllllllllllllllllllllllllllllllllllllRespondent - Appellant.


                           __________________________________________

                           Appeal from the United States District Court for the
                                      Northern District of Georgia
                           __________________________________________


ENTRY OF DISMISSAL: Pursuant to the 11th Cir.R. 42-2(c), this appeal is hereby
DISMISSED for want of prosecution because the appellant Ron Dean Eckland has failed to
file an appellant's brief and record excerpts within the time fixed by the rules, effective
February 22, 2012.


                                                  JOHN LEY
                                       Clerk of the United States Court
                                      of Appeals for the Eleventh Circuit

                                by: Tonya L. Richardson, DD, Deputy Clerk


                                                                  FOR THE COURT - BY DIRECTION
